                       Case 2:13-cr-00127-WKW-CSC Document 56 Filed 07/02/14 Page 1 of 5


P0 215tt      (Rev. 09/I1) Judgment in a Criminal Case
               Sheet




                                           UNITED STATES DISTRICT COURT
                                                         MEDDLE DISTRICT OF ALABAMA

              UNITED STATES OF AMERICA                                                JUDGMENT IN A CRIMJFNAL CASE
                                   V.
                                                                                       (WO)

                  KEMORE TYRE STROTHER                                                Case Number: 2:1 3crl 27-02-KW

                                                                                      USM Number: 14807-002

                                                                                      Carly B. Wilkins
                                                                                      Defendant's A homey
THE DEFENDANT:
   p1eaded guilty to count ( s )        3 of the Indictment on 10/09/2013
D pleaded nolo conlendere to count(s)
  which was accepted by the court.
E was found guilty on coil t(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                                 Offense Ended            Count

 18:1029(a)(4); 2                   Access Device Fraud; Aiding and Abetting                                          9/30/2011               3




   See ttdchtional count(s) on page 2

      The defendant is sentenced as provided in pages              through 5 of this udgmeut. The sentence is inrposed pursuant to the
Sentencing Reform Act of 194.
E The defendant has been found not guilty on count(s)
   Couni(s) 1 and 4                                        fl is     dare dismissed on the motion of the United Slates.

         It is ordered that the defendant imst notify the UntedStates attorney For this district within 30 days if any change of name. residence,
or mailnig address until all fines, restitution, costs, and special assessments imposed by this judgment are full,' paid. Ifordered to pay restitution,
the defendant must notify the court and United Sates attorney of material changes in economic circimistancc

                                                                           06/18/2014
                                                                            I hite of le i]oI iii n of JndgrtieIII




                                                                            S igiunure of Judge


                                                                           W. KEITH WATKINS, CHIEF U.S. DISTRICT JUDGE
                                                                            Name of Judge                                    Title of Judge


                                                                               7.z.1i4
                                                                            Date
                        Case 2:13-cr-00127-WKW-CSC Document 56 Filed 07/02/14 Page 2 of 5


AU 2450           (Rev. 09/11) Judgment in a Criminal Case
VI                Sheet 4--Probation

                                                                                                                            Judgment Page: 2 of 5
     DEFENDANT: KEMORE TYRE STROTHER
     CASE NUMBER: 2:13cr127-02-WKW
                                                                    PROBATION
     The defendant is hereby sentenced to probation for a term of

      5 Years




     Fhe defendant shall not commit another federal, state or local crime.
     The defendant shall not unlawfully 05SCSS a controlled substance. The defendant shall refrain from any unft vful use ofa controlled
     substance, The defendant shall submit to one drug test within 15 days of placement on probation and at leas two periodic drug tests
     thereafter, as determined by the court.
     0 The above drug testing condition is suspended, based on the court's determination that the defendant pi:scs a low risk of
       future substance abuse. (Check, iJapphcable.)
            The defendant shall not possess a firearm, ammuniUon, destructive device, or an y other dangerous weapon. (Check, ([applicable.)
            The defendant shall cooperate in the collection of DNA as directed by the probation officer. Check, iJay/icable.)
            The defendant shall comply with the requirements of the Sex Offender Registration and Notification A:t (42 U.S.C. § 16901, el seq.)
            as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agencl , in which he or she resides,
            works, is a student, or was convicted of qualitiing offense. (Check, ([applicable.)
            The defendant shall participate in an approved program for domestic violence. (Check, ([applicable.)
              If this jud gment imposes a fine or restitution, it is a conditbn of probation that thedefcndant pay in accordance with the Schedule of
     Pa y ments sheetoffliis judgment.
               The defendant mist comply with the standard conditions that have been adopted bthis court as well is with an y additional conditions
     on the attached page.

                                              STANDARD CONDITIONS OF SUPERVISION
       1)    the defendant shall not leave the judicial district without the permission of the court or probation ofEier:
       2)     the defendant shall report to the probation officer in a manner and frequency directed by he court or probation officer;
       3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructiom of the probation officer;
       4)     the defendant shall support his or her dependents and meet other family responsibilities;
       5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;
       6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       7)    the defendant shall refrain from excessive use of alcohol and shall not purchase. possess, use, distrihite, or administer any controlled
             substance Or any paraphernalia related to any controlled substances, except as prescribed by a physician:
       8)    the defendant shall not frequent places where controlled substances are illegally, sold, used. disLrihut:d, or administered:
       9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associafi: with any person convicted of a
             felony, unless granted permission to do so by the probation ulcer;
      10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
             contraband observed in plain view of the probation officer;
      11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcennt officer;
      12)    the defendant shall not enter into any agreement to act as an inlhrmer or a special agent afa law enYorcemnt agency without the
             permission of the court; and
      13)    as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defenthnt's criminal
             record or personal history or characteristics and shall permit the probation officer to make such noti ieations and to confirm the
             defendant s compliance with such notification requirement.
                      Case 2:13-cr-00127-WKW-CSC Document 56 Filed 07/02/14 Page 3 of 5


At) 2450       (Rev. 09/11) Judgment in a Criminal Case
Vi              Sheet 4C - Probation

                                                                                                             Judgment Page: 3 of 5
 DEFENDANT: KEMORE TYRE STROTHER
 CASE NUMBER: 2:13cr127-02-WKW


                                             SPECIAL CONDITIONS OF SUPERVISION
     Defendant shall participate in the home confinement program, with electronic monitoring, for a period of eight (8) months,
     to begin at a time designated by the probation officer. She shall follow the procedures specified b 1,, the probation officer
     and pay the cost of electronic monitoring.

     Defendant shall provide the probation officer any requested financial information.

     Defendant shall not obtain new credit without approval of the court unless in compliance with the payment schedule.
                       Case 2:13-cr-00127-WKW-CSC Document 56 Filed 07/02/14 Page 4 of 5


AO 2450          (Rev 09/1 1) Judgmen: ini Criminal Case
vi               Sheet 5—Criminal Monetary Peiiaities

                                                                                                                        Judgment Page: 4 of 5
     DEFENDANT: KEMORE TYRE STROTHER
     CASE NUMBER: 2:13cr127-02-WKW
                                                   CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet (,

                         Assessment                                          Fine                             Restitution
     TOTALS            S 100.00                                          $                                 S $8,698.87


     C1 The determination of restitution is deferred until                     An Amended Judgment in a Criminal('ase (10 245C) will he entered
         after such determination.

         The defendant must make restitution (including community restitution) to the following payees in the ar' ount listed below.

         lithe defendant makes a partial payment, each payee shall receive an approximatelyproportioned paymint, unless specified otherwise in
         the priorityrder
                       o or percentage payme
                                           nt column below. However, pursuant to 18 U.S.C. § 3664(1), all ionfederal victims must be paid
         heibre the United States is paid.

     Name of Payee                                                      Total Loss*            Restitution Ordered Priority or Percentage

      Sterling Bank                                                                                        $2,033J;18

      Attn: Sharon Robinson

      4121 Carmichael Road, Suite 100
      Montgomery, AL 36106



      First Community Bank                                                                                 $6,665.29
      Attn: LaMarlow Weldon

      715 Wilson Street
      Wetumpka, AL 36092




 TOTALS                                                                                $000                $8,69887


 D        Restitution amount ordered pursuant to plea agreement S

 F7 The defendant must pay interest on restitution and a line of more than $2,500, unless the restitution or tine is paid in full before the
      fifteenth day after the date of the judgment. pursuant to 18 U.S.C. § 3612(1). All of the payment opticris on Sheet 6 may he subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

          The court determined that the defendant does not have the ability to pay interest and it is ordered that:

              the interest requirement is waived for the       fl tine V restitution.
          fl the interest requirement for the           fl fine fl restitution is modified as follows:

  Findings for the total anDunt of losses are required under Cha1ers 109A. 110, 11 OA, and 113A ofTitle 1 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
                   Case 2:13-cr-00127-WKW-CSC Document 56 Filed 07/02/14 Page 5 of 5


AU 245B       (Rev. 09/1 1) Judgment in a Cijmjna) Case

VI            Sheet 6 — SchedideofPavments

                                                                                                                             Judgment Page: 5 of 5
 DEFENDANT: KEMORE TYRE STROTHER
 CASE NUMBER: 2:13cr127-02-WKW

                                                          SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties is due as foli)ws:

 A        " Lump sum payment 01$ 8,798.87                       due immediately, balance due

                  not later than                                     , or
              ' in accordance                   C,         D,          E, or          F below; or

 B     fl Payment to begin immediately (may be combined with                     C.           D, or         F below); or

 C           Payment in equal                     (e.g., week/v, monthly, quarterly.) installments of $                           over a period of
           -          - (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of thisjudgment;  or

 D     fl Payment in equal              -           (e.g., week/v, monthly, quarieriy) installments of $         -               over a period of
                          (e.g., months or years), to commence        -              (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E     D Payment during the term of supervised release will commence within                  (e.g. 300r60 days) atler release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F        ' Special instructions regarding the payment of criminal monetary penalties:
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District c Alabama, Post Office Box 711,
            Montgomery, Alabama 36101. Restitution shall be paid at the late of not less than S150.00 per month with the first month payment due on
            8/1/2014. To the extent that other defendants are ordered in this ease or in any other case to be responsible or some or all of the restitution
            amount owed to the Victim, the victim is entitled to only one recovery, from whomever received. In other v,ords, the victim is not allowed
            to receive compensation in excess of its loss.
            Related case/defendant: Andre Terrill Willis - 2:1 3cr 127-01 -WKW




 U Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including deJndant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 U The defendant shall pay the cost of prosecution.
 El The defendant shall pay the following court cost(s):
 U    The defendant shall forfeit the defendants interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution ir .crest. (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
